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                                                   UNITED STATESDISTRICTCOURT
                                                   FORTHE DISTRICTOF MARYLAND

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          Movant David Andrew Christenson                                       Civ. No. l:t?- V-02849-ELH


          State of Maryland                                                     Complaint for Declaratory and
          Plaintiff                                                             Injunction Relief


          v.                                                                    Judge ElJen Lipton HolJander
                                                                                                    _FILED                 _        ENTERED
                                                                                                    _lOGGED                __       RECEIVED
          United States of America, et aI.,
          Defendants
                                                                                                                 DEC 17 2018
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                                                                                                              a.ERK. u.s. DISTRICT COURT
                                                                                                                  ISTRJCT OF MARYLAND

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          The irony is that this case is about The Affordable Care Act and severe election tampering via censorship.
          Our government, social media and media report in a one-dimension world. We live in a multi-dimension
          world that requires free speech if we are to survive. I admit that there is no way to report this
          information in a coherent manner. Review the letter and four-page docketed pleading to Judge John G.
          Koeltl US District Court SD New York 500 Pearl Street New York, NY 10007-1312 Attachment 1


                       A Christmas Caral in Prose; Being a Ghost Story af Christmas by Charles Dickens
               Jacob Morley "Mankind was my business. The cammon welfare was my business; charity, mercy,
          farbearance, and benevolence, were, all, my business. The dealings af my trade were but a drap of water
                                       in the comprehensive ocean of my business!"

                                              IS   MANKIND   YOUR BUSINESS OR NOT?


          Similar Questions of the Rule of Law - Reference:
          In reo Grand Jury Investigation (18-3052) Court of Appeals for the D.C. Circuit
          Democratic National Committee v. The Russian Federation (1:18-cv-03501) District Court, S.D. New York
          Christenson v. Democratic National Committee (1:18-cv-05769) District Court, S.D. New York
          Christenson v. Democratic National Committee (18-2145) Court of Appeals for the Second Circuit
          State of Maryland v. United States of America (1:18-cv-02849) District Court, D. Maryland
          Supreme Court Writ No. 18-496 Barry Michael v. Jefferson B. Sessions III Attorney General of the United
          States - Motion to Substitute

          Attachment    2: Writ/Amicus    Brief (In the most simplistic terms) In re: Grand Jury Investigation            (18-3052)
          Court of Appeals for the D.C. Circuit

          Attachment    3: Motion for Leave to File One Time Informative      Pleading (Please file as Amicus Brief if
          needed) In reo Grand Jury Investigation     (18-3052) Court of Appeals for the D.C. Circuit

          Attachment 4: Supplemental Motion for Leave to File One Time Informative Pleading (Please file as
          Amicus Brief if needed) In reo Grand Jury Investigation (18-3052) Court of Appeals for the D.C. Circuit

          Attachment    5: Errata to Complete the Record - File as Amicus Brief In reo Grand Jury Investigation
     ~   .            Case 1:18-cv-02849-ELH Document 38 Filed 12/17/18 Page 2 of 4
..
         (18-3052) Court of Appeals for the D.C. Circuit

         Attachment 6: The United States Supreme Court and The Katrina Virus by David Andrew Christenson
         "My books hove been removed/censored/sanitized   fram the Library af Congress. All references to me and
         my books have been removed/censored/sanitized  from the Library of Congress. My books have Library of
         Congress Cantral Numbers (LCCN). This book was placed into the Library of Congress in 2012."

         Attachment7:     Amicus - BLUMENTHAL v. WHITAKER (1:18-cv-02664)        District Court, District of Columbia




         Godspeed


         Sincerely,   i
         David A~re
         Box 9063
         Miramar Beach, Florida 32S50
         504-715-3086
         davida nd rewch ri ste nso n@gmail.com;
         dch riste nson 6@hotmail.com;

                                                                      SERVICE
                                                                    d the     going with the Clerk of Court and
                                                                          bye-mail and first-class mail.



                                                           Andrew Christenson
          Case 1:18-cv-02849-ELH Document 38 Filed 12/17/18 Page 3 of 4


                                      UNITED STATESDISTRICTCOURT
                                      FORTHE DISTRICTOF MARYLAND


Movant David Andrew Christenson                                     Civ. No. 1:18-CV-02849-ELH


State of Maryland                                                   Complaint for Declaratory and
Plaintiff                                                           Injunction Relief


v.                                                                  Judge Ellen Lipton Hollander


United States of America, et aI.,
Defendants

                                           Certificate of Service




                                                              enson




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                Case 1:18-cv-02849-ELH Document 38 Filed 12/17/18 Page 4 of 4
••

     Clerk                                                                                  December 13th, 2018
     District Court Maryland
     101 West Lombard Street
     Baltimore, MD 21201


     This letter clears the noncompliance   for 18-ev-2849-ELH.


     See attachments.
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